         Case: 1:24-cr-00289-DCN Doc #: 4 Filed: 08/30/24 1 of 2. PageID #: 24




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

    UNITED STATES OF AMERICA,                       )   CASE NO.: 1:24CR289
                                                    )
                  Plaintiff,                        )   JUDGE DONALD C. NUGENT
                                                    )
           v.                                       )
                                                    )
    MATTHEW MOTIL,                                  )   RESPONSE TO DEFENDANT’S
                                                    )   MOTION TO REASSIGN RELATED
                  Defendant.                        )   CASE


         The United States, by and through its counsel, Rebecca C. Lutzko, United States

Attorney, and Erica D. Barnhill, Assistant United States Attorney, hereby responds to

Defendant’s Motion to Reassign Related Case.

         Local Rule 57.9 provides that “[t]he United States Attorney’s Office, shall, in any case

which is, or might be considered, related to another case, file a motion/notice with both Judicial

Officers advising the Court of the relationship.” Local Crim. Rule 57.9(b)(3) (emphasis added).

The United States Attorney’s Office complied with this rule by filing its Notice of Related Cases

on August 13, 2024. R. 2: Notice of Related Cases, PageID 17. This Court then scheduled an

arraignment and plea in this matter, currently set for September 5, 2024. Minutes, Docket Entry,

Aug. 16, 2014, PageID N/A.

         The criminal rule, unlike the corresponding civil rule, makes no provision for defense

counsel to file a motion to transfer. See Local Civ. Rule 3.1(b)(3). Defendant filed a Motion to

Transfer after arraignment was set in this case and argues in support of his motion that during the

three status conferences1 held in Securities and Exchange Commission v. Matthew Motil et al.,




1
    According to the docket for 23-CV-1853, two status conferences were held prior to the filing of
       Case: 1:24-cr-00289-DCN Doc #: 4 Filed: 08/30/24 2 of 2. PageID #: 25




No. 23-CV-1853, “the parties have discussed, in detail, the allegations, charges, facts, and

progress in the criminal matter.” R. 3: Motion to Reassign, PageID 20 (emphasis added).

However, this statement elides the fact that the United States Attorney’s Office is not a party to

Defendant’s civil case and was not a participant in those discussions. As indicated in the Notice

of Related Cases, although the underlying facts in the two cases are the same – which was the

basis for the filing of the Notice – the parties are not. See R. 2: Notice of Related Cases, PageID

18, at footnotes 1 and 2. Defendant’s civil case is presently stayed pending the resolution of the

criminal case. Securities and Exchange Commission v. Matthew Motil et al., Case No.

1:23CV1853: Minutes, Docket Entry, Aug. 14, 2024, PageID N/A.

       This Court was previously provided notice that the two cases might be considered related

and elected to retain the criminal case and set it for arraignment and plea. The United States

therefore respectfully requests that the arraignment and plea proceed as scheduled.


                                                       Respectfully submitted,

                                                       REBECCA C. LUTZKO
                                                       United States Attorney

                                               By:    /s/ Erica D. Barnhill
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the Information in this case: one on April 8, 2024 (lasting 40 minutes), and one on May 13, 2024
(lasting 35 minutes). An additional status conference was held after the Information was filed in
this case, on August 14, 2024 (lasting 35 minutes). None of the status conferences were on the
record. See generally 23-CV-1853: Docket, Minute entries Apr. 8, 2024, May 13, 2024, and
Aug. 14,2024, PageID NA.


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